                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                                  At Nashville


UNITED STATES OF AMERICA,                 |
                                          |       3:11-CR-12
                     PLAINTIFF            |       JUDGE SHARP
                                          |
V.                                        |
                                          |
CHRIS YOUNG,                              |
                                          |
                     DEFENDANT            |

     MOTION TO REVEAL STATEMENTS THE GOVERNMENT INTENDS TO USE AS
                    CO-CONSPIRATOR STATEMENTS

         Comes the Defendant Chris Young, by and through appointed counsel, and

moves the Court to require the government to reveal any statements the government

intends to use as co-conspirator statements as defined by Fed.R.Evid. 801(d)(2)(E).

Requiring such disclosure by the government prior to trial will enhance the efficiency of

jury proceedings and permit counsel to raise challenges to the use of such statements

in advance of the jury being selected. Counsel recognizes that Bourjaily v. United

States, 483 U.S. 171 (1987) indicates that the court can consider hearsay itself and the

determination is just like any other evidentiary determination. However, in the interest of

judicial economy, by requiring the government to identify specifically which statements it

intends to use as co-conspirator statements, it will permit the time spent at trial to be

used more efficiently and with potentially fewer jury out hearings and other interruptions

needed to address issues related to admissibility once trial is under way.

         In support of this motion, counsel submits that the charges in this indictment

include two conspiracies within the first Count and multiple substantive counts. The



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charged conspiracies have different elements and consequently some different required

proof. To avoid confusion of the issues before the jury, this information should be

discoverable. This will permit pre-trial resolution so that a hearing, if necessary, can be

conducted to determine the admissibility of the statements at issue. See, e.g., United

States v. James, 590 F.2d 575 (5th Cir.), cert. denied, 442 U.S. 917 (1979); and United

States v. Santiago, 582 F.2d 1128 (7th Cir. 1978).

      For an out-of-court statement to be admissible under Fed. R. Evid.
      801(d)(2)(E), the offering party must establish by a preponderance of the
      evidence that a conspiracy existed, that the defendant was a member of
      the conspiracy, and that the coconspirator's statement was made during
      the course and in furtherance of the conspiracy. See United States v.
      Wilson, 168 F.3d 916, 920 (6th Cir.1999); United States v. Clark, 18 F.3d
      1337, 1341 (6th Cir. 1994). These findings, often referred to as Enright
      findings, must be made by the district court. See United States v. Enright,
      579 F.2d 980, 986-87 (6th Cir. 1978). If the statement is admitted
      conditionally but the government fails to carry its burden by a
      preponderance of the evidence, the district court should grant a
      mistrial unless convinced that a cautionary instruction would shield the
      defendant from prejudice. See United States v. Vinson, 606 F.2d 149, 153
      (6th Cir. 1979).


United States v. Kelsor, 2011 FED App. 0317P (6th Cir.) (6th Cir. 2011), at ** 7 --**8.


      The admissibility under Fed.R.Evid 801(D)(2)(E) can determined in several ways.

The Court could hold a pretrial hearing and make a ruling on admissibility following the

hearing, as the Court would with an ordinary evidence issue. Appellate courts have

expressed a preference for this procedure, but they also recognize that in many

complex conspiracy cases, this would be tantamount to trying a case twice.

      Alternatively, the Court could permit the co-conspirator hearsay to be admitted,

subject to the government satisfying the preponderance of the evidence standard as the

case progresses. See, e.g., United States v. Ferra, 900 F.2d 1057 (7th Cir. 1990)




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(admitting co-conspirator hearsay statements subject to connection is not a routine but,

rather, an exceptional procedure, appropriate only when the evidence on the question of

conspiracy is extensive; most of the time it is better, especially because of double

jeopardy problems, to make a preliminary determination rather than to decide the

admissibility question on a mistrial motion).

       If the decision on admissibility is deferred, there are further permutations. The

Court could make the preponderance of the evidence ruling at the close of all the

evidence; or at the close of the government's case. At the close of the government's

case, the Court must decide whether the requisite facts have been proved by a

preponderance of the evidence. If not, the conspirators’ statements should not be

admitted under Fed.R.Evid. 801(d)(2)(E).

       If the Court defers the admissibility question and subsequently finds that the

Government has not met its burden of establishing the Rule 801(d)(2)(E) requirements,

then a mistrial should be declared unless it is clear that a limiting instruction will suffice

to protect the defendant from the obvious prejudice arising from the jury's having

already heard the inadmissible hearsay. See, Kelsor, supra.

       Given the number of defendants to be tried at one time, the number of different

conspiracies charged and asserted by recent pleadings, and the length and complexity

of the case to be tried, Mr. Young respectfully submits that it would be the best

expenditure of the court’s resources to require the government to identify the co-

conspirator statements upon which it intends to rely to allow counsel to seek a pretrial

hearing on the admissibility of such statements in advance of the trial itself.




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                                               Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

              I, the undersigned, hereby certify that on March 11, 2013, a copy of the
foregoing was filed electronically, or if not registered, sent via served by regular U.S.
Mail, postage prepaid to:

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                                        /s/ Hallie H. McFadden




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